      Case 3:15-cv-00207-RAR Document 64 Filed 09/11/17 Page 1 of 6




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


JO LYNN WILSON                                           :
                                                         :
            Plaintiff                                    :              CIVIL ACTION NO.:
                                                         :              3:15-CV-00207-DFM
vs.                                                      :
                                                         :
YALE UNIVERSITY                                          :
                                                         :
            Defendant                                    :              SEPTEMBER 11, 2017

                    DEFENDANT’S PROPOSED JURY INTERROGATORIES

I.          Disability Discrimination

            1.      Has the plaintiff proven by a preponderance of the evidence that she suffered

     from a disability as defined by the Americans with Disabilities Act and the Rehabilitation

     Act?

                           Yes_______                    No____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 2.


            2.      Has the plaintiff proven by a preponderance of the evidence that she was able to

     perform the essential functions of her job at Yale University, with or without

     accommodation?

                           Yes_______                    No____

       If you have answered no, then you must enter a verdict in favor of the defendant.
 If you have answered yes, then proceed to Question 3.
      Case 3:15-cv-00207-RAR Document 64 Filed 09/11/17 Page 2 of 6




         3.       Has the plaintiff proven by a preponderance of the evidence that she was

terminated because of her disability?

                         Yes_____                      No_____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 4.


         4.       Has the defendant articulated a legitimate, non-discriminatory reason for

terminating the plaintiff’s employment?

                         Yes_____                      No_____

         Proceed to Question 5.


         5.       Has the plaintiff proved by a preponderance of the evidence that the defendant’s

articulated reason for its actions was false and that the real reason was discrimination based on

her disability?

                         Yes_____                      No_____

        If you have answered no, then you must enter a verdict in favor of the defendant
on this count. Proceed to Section II.


II.      Failure to Accommodate

              1. Has the plaintiff proven by a preponderance of the evidence that she suffered

from a disability which significantly affected her ability to do her work at Yale University?

                         Yes_____                      No_____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 2.




                                                 2
   Case 3:15-cv-00207-RAR Document 64 Filed 09/11/17 Page 3 of 6




       2.      Did the plaintiff prove by a preponderance of the evidence that the defendant

had notice of her disability?

                       Yes_____                    No_____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 3.


       3.      Did the plaintiff prove by a preponderance of the evidence that she could

perform the essential functions of her position with a reasonable accommodation?

                       Yes_____                    No_____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 4.


       4.      Did the plaintiff prove by a preponderance of the evidence that she requested a

reasonable accommodation?

                       Yes_____                    No_____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 5.


       5.      Did the plaintiff prove by a preponderance of the evidence that the defendant

refused to provide a reasonable accommodation requested by the plaintiff?

                       Yes_____                    No_____

       If you have answered no, then you must enter a verdict in favor of the defendant.
If you have answered yes, then proceed to Question 6.




                                              3
       Case 3:15-cv-00207-RAR Document 64 Filed 09/11/17 Page 4 of 6




          6.    Did the defendant prove by a preponderance of the evidence that the requested

accommodation would result in an undue hardship?

                       Yes_____                      No_____

        If you have answered yes, then you must enter a verdict in favor of the defendant
on this count. Proceed to Section III.


III.      Economic Damages

          Answer the following questions only if you have entered a verdict in favor of the

plaintiff on the disability discrimination and/or failure to accommodate claims.

          1.    Did the plaintiff prove that she made an attempt to find part time employment

in order to replace the income she earned while employed at Yale University?

                       Yes_____                      No_____

       If you have answered no, you may not award any economic damages. In that
instance, you should proceed to Section IV below. If you have answered yes, then
proceed to Question 2.


          2.    State the amount of economic damages the plaintiff has proven by a

preponderance of the evidence that she suffered as a result of intentional disability

discrimination or failure to accommodate her disability.

                       $__________


          Proceed to Section IV.




                                               4
      Case 3:15-cv-00207-RAR Document 64 Filed 09/11/17 Page 5 of 6




IV.      Non- Economic Damages

         Answer the following questions only if you have entered a verdict in favor of the

plaintiff on the disability discrimination and/or failure to accommodate claims.

         1.      Has the plaintiff proven by a preponderance of the evidence that she suffered

emotional distress as a result of the defendant’s conduct?

                        Yes_____                     No_____

      If you have answered no, then you may not award any non-economic damages. If
you have answered yes, then proceed to Question 2.

         2.      State the amount of non-economic damages the plaintiff has proven by a

preponderance of the evidence that she suffered as a result of intentional disability

discrimination.

                        $ ___________


V.       Punitive Damages

              Answer the following questions only if you have entered a verdict in favor of the

plaintiff on the disability discrimination and/or failure to accommodate claims.


         1.      Did the plaintiff prove by a preponderance of the evidence that the defendant

acted with malice or reckless indifference to the plaintiff’s right to be free from disability

discrimination?

                        Yes_____                     No_____

      If you have answered no, then you may not award punitive damages. If you have
answered yes, then proceed to Question 2.




                                                5
   Case 3:15-cv-00207-RAR Document 64 Filed 09/11/17 Page 6 of 6




       2.      State the amount of punitive damages to be awarded to the plaintiff.

                       $__________




                                                       THE DEFENDANT
                                                       YALE UNIVERSITY


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)
                                                     Patrick M. Noonan
                                                     Colleen Noonan Davis (#ct27773)
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                           Patrick M. Noonan




                                                 6
